Case 2:09-md-02047-EEF-MBN Document 15695-6 Filed 08/13/12 Page 1 of 3

Participating Defendant
Involved

Participating Defendant/Insurers
Assigning Claims to PSC

Aburton Homes, Inc.

Aburton Homes, Inc., General Fidelity Insurance Company and
Quanta Insurance Company assign to the PSC any and all claims,
whether in contract, tort, law or equity, and whether for defense,
indemnity, or bad faith penalties, that any of these entities may have
against North American Specialty Insurance Company related to its
claim handling and/or coverage for Aburton Homes, Inc.

American Dream Builders, Inc.

American Dream Builders, Inc. and Quanta Insurance Company
assign to the PSC any and all claims, whether in contract, tort, law or
equity, and whether for defense, indemnity, or bad faith penalties,
that either of these entities may have against North American
Specialty Insurance Company related to its claim handling and/or
coverage for American Dream Builders, Inc.

American Housing Corporation

American Housing Corporation, General Fidelity Insurance Company
and Quanta Insurance Company assign to the PSC any and all claims,
whether in contract, tort, law or equity, and whether for defense,
indemnity, or bad faith penalties, that any of these entities may have
against North American Specialty Insurance Company related to its
claim handling and/or coverage for American Housing Corporation

First Choice Homes of SW Florida, Inc.

First Choice Homes of SW Florida, Inc. and Quanta Insurance
Company assign to the PSC any and all claims, whether jn contract,
tort, law or equity, and whether for defense, indemnity, or bad faith
penalties, that either of these entities may have against North
American Specialty Insurance Company related to its claim handling
and/or coverage for First Choice Homes of SW Florida, Inc.

Groza Builders, Inc.

Groza Builders, Inc., General Fidelity Insurance Company and Quanta
Insurance Company assign to the PSC any and all claims, whether in
contract, tort, law or equity, and whether for defense, indemnity, or
bad faith penalties, that any of these entities may have against North
American Specialty Insurance Company and Vinings Insurance
Company related to their claim handling and/or coverage Groza
Builders, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-6 Filed 08/13/12 Page 2 of 3

Nautical Homes, LLC n/k/a Statewide
Structural, LLC

Nautical Homes, LLC n/k/a Statewide Structural, LLC and Quanta
Insurance Company assign to the PSC any and all claims, whether in
contract, tort, law or equity, and whether for defense, indemnity, or
bad faith penalties, that either of these entities may have against
North American Specialty related to its claim handling or coverage
for Nautical Homes, LLC n/k/a Statewide Structural, LLC

Ocean Construction, Inc.

Ocean Construction, Inc. and FCC! insurance Company assign to the
PSC any and all claims, whether in contract, tort, law or equity, and
whether for defense, indemnity, or bad faith penalties, that either of
these entities may have against Amerisure Insurance Company and
Amerisure Mutual Insurance Company related to their claim handling
or coverage for Ocean Construction, Inc.

Parr-Self, Inc.

Parr-Self, Inc. assigns to the PSC any and all claims, whether in
contract, tort, law or equity, and whether for defense, indemnity, or
bad faith penalties, that it may have against Essex Insurance
Company related to its claim handling or coverage for Parr-Self, Inc.

Reve Development Corporation

Reve Development Corporation and Quanta Insurance Company
assign to the PSC any and all claims, whether in contract, tort, law or
equity, and whether for defense, indemnity, or bad faith penalties,
that either of these entities may have against North American
Specialty related to its claim handling or coverage for Reve
Development Corporation

RJM Builders North, Inc., RJM Builders
Inc. and RJM Builders South, Inc.

RIM Builders North, Inc., RJM Builders Inc. and RJM Builders South,
Inc., General Fidelity Insurance Company and Quanta Insurance
Company assign to the PSC any and all claims, whether in contract,
tort, law or equity, and whether for defense, indemnity, or bad faith
penalties, that any of these entities may have against North
American Specialty related to its claim handling or coverage for RIM
Builders North, Inc., RJM Builders Inc. and RJM Builders South, Inc.

Schmidt Brothers Homes, inc.

Schmidt Brothers Homes, Inc., General Fidelity Insurance Company
and Quanta Insurance Company assign te the PSC an and all claims,
whether in contract, tort, law or equity, and whether for defense,
indemnity, or bad faith penalties, that any of these entities may have
against North American Specialty related to its handling or coverage
for Schmidt Brothers Homes, Inc.

Case 2:09-md-02047-EEF-MBN Document 15695-6 Filed 08/13/12 Page 3 of 3

Shoma Homes Splendido, Inc.

Shoma Homes Splendido, Inc. assigns to the PSC any and all claims,
whether in contract, tort, law or equity, and whether for defense,
indemnity, or bad faith penalties, that it may have against Crum and
Forester Insurance Company related to its claim handling and/or
coverage Shoma Homes Splendido, Inc.

Smith Family Homes Corporation and
Smith Family Homes, Inc.

Smith Family Homes Corporation and Smith Family Homes, Inc.,
General Fidelity Insurance Company and Quanta Insurance Company
assign to the PSC any and all claims, whether in contract, tort, law or
equity, and whether for defense, indemnity, or bad faith penalties,
that any of these entities may have against North American Specialty
Insurance Company related to its claim handling and/or coverage
Smith Family Homes Corporation and Smith Family Homes, Inc.

Stuart South Group, LC d/b/a Treasure
Coast Homes

Stuart South Group, LC d/b/a Treasure Coast Homes and Quanta
Insurance Company assign to the PSC any and all claims, whether in
contract, tort, law or equity, and whether for defense, indemnity, or
bad faith penalties, that either of these entities may have against
North American Specialty Insurance Company related to its claim
handling and/or coverage Stuart South Group, LC d/b/a Treasure
Coast Homes

Treasure Coast Communities, LC

Treasure Coast Communities, LC and Quanta Insurance Company
assign to the PSC any and all claims, whether in contract, tort, law or
equity, and whether for defense, indemnity, or bad faith penalties,
that either of these entities may have against North American
Specialty Insurance Company related to its claim handling and/or
coverage Treasure Coast Communities, LC

Turn Key Home Builders, Inc.

Turn Key Home Builders, Inc, and Quanta Insurance Company assign
to the PSC any and all claims, whether in contract, tort, law or equity,
and whether for defense, indemnity, or bad faith penalties, that
either of these entities may have against North American Specialty
Insurance Company related to its claim handling and/or coverage
Turn Key Home Builders, Inc.

